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        Byton North America Corporation and
    8   Byton Limited
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                           UNITED STATES DISTRICT COURT
  12
                         CENTRAL DISTRICT OF CALIFORNIA
  13
                                     WESTERN DIVISION
  14
  15    BYTON NORTH AMERICA                      Case No. 2-19-cv-10563-DMG-JEM
        CORPORATION, a Delaware
  16    corporation; and BYTON LIMITED,          PLAINTIFFS’ EX PARTE
        a Hong Kong company,                     APPLICATION FOR ORDER
  17                                             EXTENDING DEADLINE TO
                       Plaintiffs,               AMEND PLEADINGS OR ADD
  18                                             PARTIES [L.R. 7-19]
              vs.
  19                                             [Memorandum of Points and
        ICONIQ MOTORS NORTH                      Authorities, Declaration of Alexander
  20    AMERICA, INC., a California              Vitruk, and Proposed Order filed
        corporation; CARSTEN                     concurrently.]
  21    BREITFELD, an individual; and
        DOES 1 THROUGH 25                        Judge: Hon. Dolly M. Gee
  22    INCLUSIVE,                               Dept.: 8C
  23                                             Action Filed: August 28, 2019
                       Defendants.               Trial Date: August 17, 2021
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             NOTICE OF EX PARTE APPLICATION AND EX PARTE APPLICATION FOR ORDER EXTENDING
                DEADLINE TO AMEND PLEADINGS OR ADD PARTIES; CASE NO. 2-19-CV-10563-DMG-JEM
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    1   TO THE COURT, DEFENDANTS, AND THEIR COUNSEL OF RECORD:
    2         PLEASE TAKE NOTICE that Plaintiffs Byton North America Corporation
    3   and Byton Limited (collectively, “Byton” or “Plaintiffs”), submit this Ex Parte
    4   Application for Order Extending Deadline To Amend Pleadings or Add Parties in
    5   the above-captioned action from July 31, 2020 to September 30, 2020 (i.e., for a 60-
    6   day extension).
    7         Byton brings this Application ex parte because Defendants would not
    8   stipulate to the requested relief, and the deadline to move to amend pleadings or add
    9   parties is fast-approaching on July 2, 2020 under L.R. 6-1.
  10          Good cause exists for the requested relief because (1) the ongoing and
  11    resurgent COVID-19 pandemic in the United States and Asia has resulted in travel
  12    bans, stay-at-home orders, office closures, and restricted access policies that have
  13    posed significant difficulties in this matter; (2) Byton intends to file motions to
  14    dismiss Defendant Carsten Breitfeld’s Counterclaims, which may result in further
  15    amendment to the pleadings; (3) Despite multiple followups, Defendant ICONIQ
  16    Motors North America, Inc. has produced only one document; and (4) The parties
  17    are in the process of negotiating a protective order and ESI protocol.
  18          Pursuant to Local Rule 7-19, counsel for Defendant Breitfeld, Ryan Baker,
  19    may be contacted at (424) 652-7800 or rbaker@bakermarquart.com. The address of
  20    Mr. Baker’s firm, Baker Marquart LLP, is 777 S. Figueroa St., Suite 2850, Los
  21    Angeles, CA 90017. Counsel for Defendant ICONIQ Motors North America, Inc.,
  22    Kenneth I. Gross, may be contacted at (213) 784-4232 or kgross@kigrosslaw.com.
  23    The address of Mr. Gross’ firm, Kenneth I. Gross & Associates, is 849 S. Broadway
  24    Ste. 504, Los Angeles, CA 90014.
  25          Finally, as averred in the accompanying declaration, Byton’s counsel
  26    provided notice of this Ex Parte Application as required by L.R. 7-19, and served by
  27    email, copies of each of the documents filed in support of this Application.
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    1   Dated: June 29, 2020             Respectfully submitted,
    2                                    MAYER BROWN LLP
    3
                                         By: /s/ Alexander Vitruk
    4                                        Alexander Vitruk
    5                                    Attorneys for Plaintiffs Byton North America
                                         Corporation and Byton Limited
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             NOTICE OF EX PARTE APPLICATION AND EX PARTE APPLICATION FOR ORDER EXTENDING
                DEADLINE TO AMEND PLEADINGS OR ADD PARTIES; CASE NO. 2-19-CV-10563-DMG-JEM
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    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2    I.   Good Cause Exists for a 60-Day of Extension of the Deadline to Amend
    3         Pleadings or Add Parties.
    4         This Court may extend the parties’ deadline to amend pleadings or add parties
    5   for good cause. See Fed. R. Civ. P. 6(b)(1)(A) (“When an act may or must be done
    6   within a specified time, the court may, for good cause, extend the time with or
    7   without motion or notice if the court acts, or if a request is made, before the original
    8   time or its extension expires.”)
    9         Good cause exists to extend the deadline to amend pleadings or add parties
   10   for at least four independent reasons:
   11         First, the ongoing and resurgent COVID-19 pandemic in the United States and
   12   Asia has resulted in travel bans, stay-at-home orders, office closures, and restricted
   13   access policies that have posed significant difficulties in this matter. In addition,
   14   Plaintiff Byton Limited is located in Hong Kong and operates 15 hours ahead of
   15   Pacific Standard Time in California where this case is venued and where Plaintiffs’
   16   counsel is located. This significant time difference coupled with remote-work
   17   challenges has posed unprecedented challenges and delays in this matter.
   18         Second, on May 19, 2020, Defendant Carsten Breitfeld (“Breitfeld”) filed an
   19   Answer and Counterclaims against Plaintiffs. See ECF No. 33. Plaintiffs intend to
   20   file motions to dismiss Breitfeld’s Answer and/or Counterclaims, which may result
   21   in further amendment to the pleadings.
   22         Third, Defendant ICONIQ Motors North America, Inc. (“Iconiq”) has
   23   produced only one document to date, despite multiple followups from Plaintiffs’
   24   counsel. That document indicates that the addition of another party may be
   25   necessary, but Plaintiffs require further information and documents from Iconiq
   26   before deciding whether to add such party. Plaintiffs’ counsel and Iconiq’s counsel
   27   are in continued communications in an effort to avoid discovery motion practice.
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    1         Finally, the parties are in the process of negotiating a protective order and ESI
    2   protocol, but that process has been delayed by the aforementioned difficulties posed
    3   by the COVID-19 pandemic.
    4         Counsel for Plaintiffs inquired on June 17, 2020, and again on June 25, 2020,
    5   as to whether Defendants would stipulate to the requested relief. Neither Defendant
    6   would agree to stipulate. Subsequently, Plaintiffs’ counsel telephonically informed
    7   Defendants’ counsel that Plaintiffs would seek an extension from the Court on an ex
    8   parte basis. See Declaration of Alexander Vitruk, ¶¶ 2-3. Iconiq’s counsel indicated
    9   that his client would not file a written opposition, and Breitfeld’s counsel did not
   10   indicate one way or the other. Id.
   11         Following Plaintiffs’ good faith but futile attempts to reach a stipulated
   12   extension with Defendants, Plaintiffs now seek emergency relief because the
   13   deadline to file a motion for leave to amend pleadings or add parties is this Thursday,
   14   July 2, 2020 under L.R. 6-1. An extension of this deadline will not alter the date of
   15   any event or deadlines in this case, nor would it prejudice any party.
   16   II.   Conclusion
   17         For the foregoing reasons, and for good cause shown, Plaintiffs respectfully
   18   request that the Court grant the Ex Parte Application and extend the present July 31,
   19   2020 deadline to amend pleadings or add parties to September 30, 2020.
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   22   Dated: June 29, 2020                 Respectfully submitted,
   23                                        MAYER BROWN LLP
   24
                                             By: /s/ Alexander Vitruk
   25                                            Alexander Vitruk
   26                                        Attorneys for Plaintiffs Byton North America
                                             Corporation and Byton Limited
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